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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Tn re:
Chapter 11

ONCO INVESTMENT COMPANY,

a Delaware corporation, et al., : Jointly Administered
Case No. 04-10558 (RB)

Reorganized Debtors.
Re: Docket No. 2528

ORDER ENTERING FINAL DECREE CLOSING
THE CHAPTER 11 CASE OF ONCO INVESTMENT COMPANY

This matter coming before the Court on the Motion of ONCO Investment

 

Company ("QNCO"), one of the above-captioned reorganized debtors (the "Debtors"), for an

Order Entering Final Decree Closing Its Chapter 11 Case (the "Motion"); the Court (a) having

 

reviewed the Motion and all pleadings relating thereto and (b) having heard the statements of
counsel regarding the Motion al a hearing held before the Court (the "Hearing"); the Court
finding thal: (a) the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and
1334, Section XIL.12 of the Plan and Paragraph 39 of the Confinnation Order; (b) this is a core
procecding pursuant to 28 U.S.C. § 157(b)(2); and (c} notice of the Motton and the Hearing was
sufficient under the circumstances; and the Court having determined that the legal and factual
bases set forth in the Motion and at the Hearing establish just cause for the relief granted herein;
IT JS HEREBY ORDERED THAT:

1. The Motion is GRANTED.

2. Capitalized terms not otherwise defincd herein have the meanings given to

them in the Motion.

3. The chapter 11 case of ONCO, Case No, 04-10558, is hercby closed
pursuant to section 350(a) of the Bankruptcy Code, Bankrupicy Rule 3022 and Local
Rule 5009-1,

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4, Notwithstanding the closure of ONCO's chapter 1] case, the Court

expressly retains junsdiction to: (a) enforce any of its orders issued in the Closed Cases and the

 

case of ONCO; (b) enforce the terms and conditions of the Plan; and (c) consider any proper
requests to reopen thc case of ONCO under section 350(b) of the Bankruptcy Code.

5, The closure of ONCO's chapter 11 case shall not prejudice any rights of
the plaintiffs in the M.W. Post Adversary in connection with their appeal of orders thereim,
including, without limitation, their appeal of the memorandum order of the District Court

dismissing such appeals.

  

Dated: Hover. ber 43, 2005
Wilmington, Delaware E HONORABLE RANDOLPH BAXTER
UNITED STATES BANKRUPTCY JUDGE

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